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Performance Report
Week of May 2, 2021

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Christ Is King. Church Is Essential. Freedom Is Everything.

 

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Freedom Center

Facebook reach for the week of 5/2/2021, provided by
DeDonato Enterprises DBA Flag and Cross Network

 

 

125,000

100,000

75,000

50,000

25,000

 

5/3 5/4 5/5 5/6 5/7 5/8

@ Posts
@ Videos

Unique Facebook Users
Ove r 40 7 Reached In The Past Week!
 

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User Reach By Media Format

Videos Posts

75.8%

  

Total percentage accounted Total percentage accounted
for by 7 shared videos: for by 9 shared posts:
98k+ users reached 309k+ users reached

Data sourced from our top 4 performing pages for Freedom Center:

Keep and Bear - 65k users

 

HomeDefenseGun - 459k users
United States Constitution - 1.2 million users
 

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This week's heavy hitters:

EMAL Eye

PRIESTS, AAD

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CONTINUED EXCEPTIONALISM.

MIKE POMPEO

 

 
 

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